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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

x
JEFFREY SEIGEL,

Plaintiff,

-vs- Civil Action No. 7:19-cv-07307-VB
STRUCTURE TONE ORGANIZATION,
I NE CONST » MR.

PAVARININ RUCTION CO., STIPULATION AND BRGPOSED.
ROBERT YARDIS and MR. MICHAEL
MELANOPHY, PROTECTIVE ORDER

Defendants.

x

 

WHEREAS, the Parties having agreed to the following terms of confidentiality, and the
Court having found that good cause exists for the issuance of an appropriately tailored
confidentiality order pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, it is hereby

ORDERED that the following restrictions and procedures shall apply to the information

and documents exchanged by the parties in connection with the pre-trial phase of this action:

1. Counsel for any party may designate any document or information, in whole or in
part, as confidential if counsel determines, in good faith, that such designation is necessary to
protect the interests of the client in information that is proprietary, a trade secret or otherwise
sensitive non-public information. Information and documents designated by a party as
confidential will be stamped “CONFIDENTIAL.”

2. The Confidential Information disclosed will be held and used by the person
receiving such information solely for use in connection with the action.

3, In the event a party challenges another party’s designation of confidentiality,
counsel shall make a good faith effort to resolve the dispute, and in the absence of a resolution,

the challenging party may seek resolution by the Court. Nothing in this Protective Order

 
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constitutes an admission by any party that Confidential Information disclosed in this case is

relevant or admissible. Each party reserves the right to object to the use or admissibility of the

Confidential Information.

4.

The parties should meet and confer if any production requires a designation of

“HIGHLY CONFIDENTIAL - For Attorneys’ or Experts’ Eyes Only.” All other documents

designated as “CONFIDENTIAL” shall not be disclosed to any person, except:

a.

5.

The requesting party and counsel, including in-house counsel and attorneys
Plaintiff may consult for potential hire;

Employees of such counsel assigned to and necessary to assist in the litigation;
Consultants or experts assisting in the prosecution or defense of the matter, to the
extent deemed necessary by counsel; and

The Court (including the mediator, or other person having access to any
Confidential Information by virtue of his or her position with the Court).

Before disclosing or displaying the Confidential Information to any person other

than those excepted in Paragraph 4, counsel must:

a.

b.

6.

Inform the person of the confidential nature of the information or documents;
Inform the person that this Court has enjoined the use of the information or
documents by him/her for any purpose other than this litigation and has enjoined
the disclosure of the information or documents to any other person; and

Require each such person to sign an agreement to be bound by this Order in the
form attached as Exhibit A.

The disclosure of a document or information without designating it as

“Confidential” shall not constitute a waiver of the right to designate such document or

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information as Confidential Information. If so designated, the document or information shall
thenceforth be treated as Confidential Information subject to all the terms of this Stipulation and
Order.

7. If a party inadvertently discloses Confidential Information, the party should
immediately inform the other parties and take steps necessary to remediate the inadvertent
disclosure.

8. Any Personally Identifying Information (“PIL”) (e.g., social security numbers,
financial account numbers, passwords, and information that may be used for identity theft) or
Personally Sensitive Information (“PSI”) (e.g., health and medical records) exchanged in
discovery shall be maintained by the receiving party in a manner that is secure and confidential
and shared only with authorized individuals in a secure manner. The producing party may
specify the minimal level of protection expected in the storage and transfer of its information. In
the event the party who received PII or PSI experiences a data breach, it shall immediately notify
the producing party of same and cooperate with the producing party to address and remedy the
breach. Nothing herein shall preclude the producing party from asserting legal claims or
constitute a waiver of legal rights and defenses in the event of litigation arising out of the
receiving party’s failure to appropriately protect PII or PSI from unauthorized disclosure.

9. A Party that issues a subpoena upon any third party (“Issuing Party”) shall include
a copy of this protective order and any ESI Protocol agreed and/or entered in this litigation with
the subpoena and state that the Parties in this litigation have requested that third parties produce
documents in accordance with the specifications set forth herein. If a third-party production is
not Bates-stamped or confidentiality-stamped (as applicable), the Issuing Party will endorse the

non-Party production with unique Bates prefixes and numbering scheme prior to reproducing

 

 
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them to all other Parties, including by endorsing a “CONFIDENTIAL” stamp on the documents
as appropriate.

10. Pursuant to Federal Rule of Evidence 502, the production of privileged or work
product protected documents or communications, electronically stored information (“ESI”) or
information, whether inadvertent or otherwise, shall not constitute a waiver of the privilege or
protection from discovery in this case or in any other federal or state proceeding. This Order
shall be interpreted to provide the maximum protection allowed by Federal Rule of Evidence
502(d). Nothing contained herein is intended to or shall serve to limit a party’s right to conduct a
review of documents, ESI or information (including metadata) for relevance, responsiveness
and/or segregation of privileged and/or protected information before production.

11. | Notwithstanding the designation of information as “Confidential” in discovery,
there is no presumption that such information shall be filed with the Court under seal. The parties
shall follow the Court’s procedures for requests for filing under seal.

12. At the conclusion of litigation, Confidential Information and any copies thereof
shall be promptly (and in no event later than 30 days after entry of final judgment no longer
subject to further appeal) returned to the producing party or certified as destroyed, except that the
parties’ counsel shall be permitted to retain their working files on the condition that those files
will remain protected.

13. Nothing herein shall preclude the parties from disclosing material designated to
be Confidential Information if otherwise required by law or pursuant to a valid subpoena.
Nothing herein shall limit the parties from discussing the case with any individuals; this
agreement is triggered only by the sharing of documents marked “CONFIDENTIAL” pursuant to

the forgoing paragraphs.

4.

 

 
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Dated: October 20, 2020

SO STIPULATED AND AGREED, by:

By: /s/Rory A. Leraris

 

Rory A. Leraris

Samantha A. Bui

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Pro Se Plaintiff Jeffrey S. Seigel

SO ORDERED:

Dated: [0/0/2226
New York, New York

By: /s/ Michael J. Schewe

 

Michael J. Schewe, Esq.

Kevin J. O’Connor, Esq.

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Co., Mr. Robert Yardis and Mr. Michael
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Hon. Vincent L. Briccetti
United States District Judge

 
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Exhibit A
Agreement

[have been informed by counsel that certain documents or information to be disclosed
to me in connection with the matter entitled have been designated as confidential. I have been
informed that any such documents or information labeled “CONFIDENTIAL” are confidential by
Order of the Court.

I hereby agree that I will not disclose any information contained in such documents to
any other person. I further agree not to use any such information for any purpose other than this

litigation.

DATED:

 

Name:

Witnessed by attorney/individual:

 

Name:

 

 
